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                                  8                                UNITED STATES DISTRICT COURT
                                  9                               CENTRAL DISTRICT OF CALIFORNIA

                                 10
Central District of California
United States District Court




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                                 12      Jeffery Werner,
                                                                                          2:18-cv-7188-9$36.[
                                 13                        Plaintiff,

                                 14                       v.                              JUDGMENT
                                         Evolve Media, LLC, et al.
                                 15
                                 16                        Defendants

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                                 18
                                 19      TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                 20
                                 21      This Court, having read and considered the Motion of Plaintiff Jeffery R.
                                 22   Werner’s (“Werner”) summary judgment against Defendants Evolve Media,
                                 23   LLC (“Evolve”), CraveOnline, LLC (“Crave”), and TotallyHerMedia, LLC
                                 24   (“TotallyHer”), and having considered the evidence and argument offered in
                                 25   support thereof, and good cause appearing, IT IS HEREBY ORDERED,
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                                  1   ADJUDGED AND DECREED, that the motion is GRANTED, as follows and
                                  2   as specified in the Court’s accompanying Order:
                                  3
                                  4      1. Werner is GRANTED summary judgment against Evolve and
                                  5         CraveOnline for infringing use of the Buffalo Whisperer and Wiley
                                  6         Coyote Images in the Crave Article appearing on
                                  7         www.craveonline.com;
                                  8      2. Werner is GRANTED summary judgment against Evolve and
                                  9         TotallyHer for infringing use of the Mr. Stubb’s Image in the Webecoist
                                 10         Article appearing on www.webecoist.momtastic.com;
Central District of California
United States District Court




                                 11      3. Werner is GRANTED summary judgment against Evolve and
                                 12         TotallyHer for infringing use of the Giant George Image in the Dogtime
                                 13         Article appearing on www.dogtime.com;
                                 14      4. Werner is hereby entitled to pursue an award of statutory damages
                                 15         and attorneys fees in connection with the infringements of the Buffalo
                                 16         Whisperer, Wiley Coyote, Mr. Stubbs, and Giant George Image.
                                 17
                                 18   The Court orders that such judgment be entered.
                                 19
                                 20   IT IS SO ORDERED.
                                 21
                                 22      Dated:     4/28/20
                                 23                                                    Virginia A. Phillips
                                                                                Chief United States District Judge
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